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 8                           UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9
     DERECK CASE, individually, and as
10   representative of a Class of Participants and
     Beneficiaries of the Generac Power Systems,          No. 2:21-cv-752
11
     Inc. Employees 401(k) Savings Plan,
12
                                        Plaintiffs,       CLASS ACTION COMPLAINT FOR
13                                                        CLAIMS UNDER 29 U.S.C. § 1132(A)(2)
            v.
14
     GENERAC POWER SYSTEMS, INC., and
15   THE BOARD OF DIRECTORS OF
16   GENERAC POWER SYSTEMS, INC., and
     JOHN DOES 1-30,
17
                                      Defendants.
18
19          COMES NOW Plaintiff, Dereck Case, individually and as representative of a Class of

20   Participants and Beneficiaries on behalf of the Generac Power Systems, Inc. Employees 401(k)
21   Savings Plan (the “Plan”), by his counsel, WALCHESKE & LUZI, LLC and KELLER
22
     ROHRBACK, L.L.P., as and for a claim against Defendants, alleges and asserts to the best of his
23
     knowledge, information, and belief, formed after an inquiry reasonable under the circumstances,
24
     the following:
25

26


     CLASS ACTION COMPLAINT FOR CLAIMS                                K E L L E R R O H R B A C K L. L. P .
     UNDER 29 U.S.C. § 1132(A)(2)                                           1201 Third Avenue, Suite 3200
                                                                               Seattle, WA 98101-3052
     (No. 2:21-cv-752) - 1                                                 TELEPHONE: (206) 623-1900
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 1                                           INTRODUCTION
 2          1.       The essential remedial purpose of the Employee Retirement Income Security Act
 3   (“ERISA”) is “to protect the beneficiaries of private pension plans.” Nachwalter v. Christie,
 4
     805 F.2d 956, 962 (11th Cir. 1986).
 5
            2.       The law is settled that ERISA fiduciaries have a duty to evaluate fees and
 6
     expenses when selecting investments as well as a continuing duty to monitor fees and expenses
 7

 8   of selected investments and remove imprudent ones. Tibble v. Edison Int’l, 135 S. Ct. 1823, 1828

 9   (2015); 29 U.S.C. § 1104(a)(1)(A) (fiduciary duty includes “defraying reasonable expenses of

10   administering the Plan”); 29 C.F.R. § 2250.404a-1(b)(i) (ERISA fiduciary must give
11
     “appropriate consideration to those facts and circumstances” that “are relevant to the particular
12
     investment.”). It is for good reason that ERISA requires fiduciaries to be cost-conscious:
13
            Expenses, such as management or administrative fees, can sometimes
14          significantly reduce the value of an account in a defined-contribution Plan.”
            Tibble, 135 S. Ct. at 1826, by decreasing its immediate value, and by depriving
15
            the participant of the prospective value of funds that would have continued to
16          grow if not taken out in fees.

17   Sweda v. Univ. of Pa., 923 F.3d 320, 328 (3d Cir. 2019).

18          3.       Defendants, Generac Power Systems, Inc. (“Generac”), the Board of Directors of
19
     Generac Power Systems, Inc. (“Board Defendants”), and John Does 1-30 (collectively,
20
     “Defendants”), are ERISA fiduciaries as they exercise discretionary authority or discretionary
21
     control over the 401(k) defined contribution pension plan – known as the Generac Power
22
     Systems, Inc. Employees 401(k) Savings Plan (“The Plan”) – that it sponsors and provides to its
23

24   employees.

25          4.       Plaintiff alleges that during the putative Class Period (June 8, 2015 through the
26   date of judgment), Defendants, as fiduciaries of the Plan, as that term is defined under ERISA,

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 1   29 U.S.C. § 1002(21)(A), breached the duties they owed to the Plan, to Plaintiff, and to the other
 2   participants of the Plan by, among other things: (1) authorizing the Plan to pay unreasonably
 3
     high fees for retirement plan services (“RPS”); (2) failing to objectively, reasonably, and
 4
     adequately review the Plan’s investment portfolio with due care to ensure that each investment
 5
     option was prudent, in terms of cost; and (3) maintaining certain funds in the Plan despite the
 6

 7   availability of identical or similar investment options with lower costs and/or better performance

 8   histories.

 9           5.       These objectively unreasonable RPS fees and investment selections cannot be
10   justified. Defendants’ failures breached the fiduciary duties they owed to Plaintiff, Plan
11
     Participants, and beneficiaries. Prudent fiduciaries of 401(k) Plans continuously monitor fees
12
     against the market rates, applicable benchmarks, and peer groups to identify objectively
13
     unreasonable and unjustifiable fees. Defendants did not engage in a prudent decision-making
14

15   process, as there is no other explanation for why the Plan paid these objectively unreasonable

16   fees for RPS and investment management.

17           6.       To remedy, Plaintiff brings this action on behalf of the Plan under 29 U.S.C.
18
     § 1132(a)(2) to enforce Defendants’ liability under 29 U.S.C. § 1109(a) to make good to the Plan
19
     all losses resulting from their breaches of fiduciary duty.
20
                                       JURISDICTION AND VENUE
21
             7.       This Court has subject matter jurisdiction in this ERISA matter under 28 U.S.C.
22

23   § 1331 and pursuant to 29 U.S.C. § 1332(e)(1), which provides for federal jurisdiction of actions

24   brought under Title I of ERISA, 29 U.S.C. § 1001 et seq.

25           8.       This Court has personal jurisdiction over Defendants because they transact
26   business in this District, reside in this District, and have significant contacts with this District,

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 1   and because ERISA provides for nationwide service of process.
 2          9.       Venue is appropriate in this District within the meaning of 29 U.S.C. §1132(e)(2)
 3
     because some or all of the violations of ERISA occurred in this District and Defendants reside
 4
     and may be found in this District. Plaintiff is also located in this District. Venue is also proper in
 5
     this District pursuant to 28 U.S.C. §1391 because Defendants do business in this District and a
 6

 7   substantial part of the events or omissions giving rise to the claims asserted herein occurred

 8   within the District.

 9          10.      In conformity with 29 U.S.C. §1132(h), Plaintiff served the Complaint by
10   certified mail on the Secretary of Labor and the Secretary of the Treasury.
11
                                                  PARTIES
12
            11.      Plaintiff, Dereck Case, is a resident of the State of Washington and currently
13
     resides in Arlington, Washington, and during the Class Period, was a participant in the Plan
14
     under 29 U.S.C. § 1002(7).
15

16          12.      Staring on February 11, 2017, Plaintiff worked from his home in Arlington, WA,

17   as an Area Sales Manager for the Northwest Region of Generac Mobile Products, LLC, a
18   wholly-owned subsidiary of Generac Power Systems, Inc. On January 1, 2021, his titled changed
19
     to Market Development Manager.
20
            13.      Plaintiff’s employment with Generac Mobile was terminated on May 11, 2021.
21
            14.      Plaintiff has Article III standing to bring this action on behalf of the Plan because
22

23   he suffered an actual injury to his own Plan account in which he is still a Participant, that injury

24   is fairly traceable to Defendants’ unlawful conduct, and the harm is likely to be redressed by a

25   favorable judgment.
26          15.      It is well settled, moreover, that recovery may be had for the Class Period before

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 1   Plaintiff personally suffered injury, as that turns on ERISA § 502(a)(2) on which his claim rests.
 2   This claim is brought in a representative capacity on behalf of the Plan as a whole and remedies
 3
     under ERISA § 409 protect the entire Plan. Courts have recognized that a plaintiff with Article
 4
     III standing, like Plaintiff, may proceed under ERISA § 502(a)(2) on behalf of the Plan and all
 5
     participants in the Plan. Plaintiff may seek relief under ERISA § 502(a)(2) that sweeps beyond
 6

 7   his own injury and beyond any given investment he has held as a Participant in the Plan.

 8          16.     The named Plaintiff and all Participants in the Plan suffered ongoing financial

 9   harm as a result of Defendants’ continued imprudent and unreasonable investment and fee
10   decisions made with regard to the Plan.
11
            17.     The named Plaintiff and all participants in the Plan did not have knowledge of all
12
     material facts (including, among other things, the RPS fees, investment alternatives that are
13
     comparable to the investments offered within the Plan, comparisons of the costs and investment
14

15   performance of Plan investments versus available alternatives within similarly-sized Plans, total

16   cost comparisons to similarly-sized Plans, and information regarding other available share

17   classes) necessary to understand that Defendants breached their fiduciary duties and engaged in
18
     other unlawful conduct in violation of ERISA until shortly before this suit was filed.
19
            18.     The named Plaintiff and all Participants in the Plan, having never managed a large
20
     401(k) Plan such as the Plan, lacked actual knowledge of reasonable fee levels and prudent
21
     alternative investments available to such Plans. Further, Plaintiff did not have actual knowledge
22

23   of the specifics of Defendants’ decision-making processes with respect to the Plan (including

24   Defendants’ processes for selecting and monitoring the Plan’s retirement plan service provider
25   (RPSP)) because this information is solely within the possession of Defendants prior to
26
     discovery. For purposes of this Complaint, Plaintiff has drawn reasonable inferences regarding

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 1   these processes based upon (among other things) the facts set forth below.
 2          19.     Generac Power Systems, Inc. (“Generac”) manufactures power products in the
 3
     marketplace including portable, residential, commercial, and industrial generators. Generac
 4
     Mobile Products, LLC, a wholly-owned subsidiary of Generac, manufactures mobile equipment,
 5
     including light towers, natural gas and diesel generators, water trailers, trash pumps, heaters, and
 6

 7   dust suppression solutions. Generac is located at S45W29290 State Rd 59, Waukesha, WI

 8   53189-9071. Generac Mobile is located at 215 Power Dr., Berlin, WI 54923-2420. In this

 9   Complaint, “Generac” refers to the named defendant and all parent, subsidiary (including
10   Generac Mobile), related, predecessor, and successor entities to which these allegations pertain.
11
            20.     Generac acted through its officers, including the Board Defendants, and their
12
     members (John Does 1-10), to perform Plan-related fiduciary functions in the course and scope
13
     of their business. Generac appointed other Plan fiduciaries, and accordingly had a concomitant
14

15   fiduciary duty to monitor and supervise those appointees. For these reasons, Generac is a

16   fiduciary of the Plan, within the meaning of 29 U.S.C. § 1002(21)(A).

17          21.     Generac is both the Plan sponsor and the Plan Administrator of the Generac
18
     Power Systems, Inc. Employees 401(k) Savings Plan.
19
            22.     As the Plan Administrator, Generac is a fiduciary with day-to-day administration
20
     and operation of the Plan under 29 U.S.C. § 1002(21)(A). It has authority and responsibility for
21
     the control, management, and administration of the Plan in accord with 29 U.S.C. § 1102(a).
22

23   Generac has exclusive responsibility and complete discretionary authority to control the

24   operation, management, and administration of the Plan, with all powers necessary to properly
25   carry out such responsibilities.
26


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 1          23.      Generac in its Plan Administrator capacity, as well as individuals who carried out
 2   Plan functions (John Does 11-20), are collectively referred to herein as the “Plan Administrator
 3
     Defendants.”
 4
            24.      To the extent that there are additional officers and employees of Generac who
 5
     are/were fiduciaries of the Plan during the Class Period, or other individuals who were hired as
 6

 7   investment managers for the Plan during the Class Period, the identities of whom are currently

 8   unknown to Plaintiff, Plaintiff reserves the right, once their identities are ascertained, to seek

 9   leave to join them to the instant action. Thus, without limitation, unknown “John Doe”
10   Defendants 21-30 include, but are not limited to, Generac officers and employees who are/were
11
     fiduciaries of the Plan within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A),
12
     during the Class Period.
13
            25.      The Plan is a Section 401(k) “defined contribution” pension Plan under 29 U.S.C.
14

15   § 1102(2)(A) and 1002(34), meaning that Generac’ contribution to the payment of Plan costs is

16   guaranteed but the pension benefits are not. In a defined contribution Plan, the value of

17   participants’ investments is “determined by the market performance of employee and employer
18
     contributions, less expenses.” Tibble, 135 S. Ct.at 1826. Thus, the employer has no incentive to
19
     keep costs low or to closely monitor the Plan to ensure every investment remains prudent,
20
     because all risks related to high fees and poorly performing investments are borne by the
21
     participants.
22

23          26.      As of the end of 2019, the Plan had about $176,000,000 in assets entrusted to the

24   care of the Plan’s fiduciaries. The Plan had substantial bargaining power regarding the fees and
25   expenses that were charged against participants’ investments. Defendants, however, did not
26
     sufficiently attempt to reduce the Plan’s fees and expenses or exercise appropriate judgment to

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 1   monitor each investment option to ensure it was a prudent choice.
 2          27.     With 4,034 participants in the year 2019, the Plan had more participants than
 3
     99.56% of the defined contribution Plans in the United States that filed 5500 forms for the 2019
 4
     Plan year. Similarly, with $175,817,637 in assets in the year 2019, the Plan had more assets than
 5
     99.26% of the defined contribution Plans in the United States that filed 5500 forms for the 2019
 6

 7   Plan year.

 8                                ERISA’S FIDUCIARY STANDARDS

 9          28.     ERISA imposes strict fiduciary standards of loyalty and prudence on Defendants

10   as a Plan fiduciaries. 29 U.S.C. § 1104(a)(1) provides in relevant part:
11
            [A] fiduciary shall discharge his duties with respect to a Plan solely in the interest
12          of the participants and beneficiaries and –

13                  (A) for the exclusive purpose of:

14          (i) providing benefits to participants and their beneficiaries; and
15          (ii) defraying reasonable expenses of administering the Plan; [and]
16          (B) with the care, skill, prudence, and diligence under the circumstances then
            prevailing that a prudent man acting in a like capacity and familiar with such
17
            matters would use in the conduct of an enterprise of like character and with like
18          aims.

19          29.     With certain exceptions, 29 U.S.C. § 1103(c)(1) provides in relevant part:

20          [T]he assets of a Plan shall never inure to the benefit of any employer and shall be
            held for the exclusive purposes of providing benefits to participants in the Plan
21          and their beneficiaries and defraying reasonable expenses of administering the
22          Plan.

23          30.     29 U.S.C. § 1109 provides in relevant part:

24          Any person who is a fiduciary with respect to a Plan who breaches any of the
            responsibilities, obligations, or duties imposed upon fiduciaries by this subchapter
25          shall be personally liable to make good to such Plan any losses to the Plan
26          resulting from each such breach, and to restore to such Plan any profits of such
            fiduciary which have been made through use of assets of the Plan by the

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 1          fiduciary, and shall be subject to such other equitable or remedial relief as the
            court may deem appropriate, including removal of such fiduciary.
 2
            31.     Under ERISA, fiduciaries that exercise any authority or control over Plan assets,
 3

 4   including the selection of Plan investments and service providers, must act prudently and for the

 5   exclusive benefit of participants in the Plan, and not for the benefit of third parties including

 6   service providers to the Plan such as recordkeepers and those who provide investment products.
 7
     Fiduciaries must ensure that the amount of fees paid to those service providers is no more than
 8
     reasonable. DOL Adv. Op. 97-15A; DOL Adv. Op. 97-16A; see also 29 U.S.C. §1103(c)(1)
 9
     (Plan assets “shall be held for the exclusive purposes of providing benefits to participants in the
10
     Plan and their beneficiaries and defraying reasonable expenses of administering the Plan”).
11

12          32.     “[T]he duty to conduct an independent investigation into the merits of a particular

13   investment” is “the most basic of ERISA’s investment fiduciary duties.” In re Unisys Savings
14   Plan Litig., 74 F.3d 420, 435 (3d Cir. 1996); Katsaros v. Cody, 744 F.2d 270, 279 (2nd Cir.
15
     1984) (fiduciaries must use “the appropriate methods to investigate the merits” of Plan
16
     investments). Fiduciaries must “initially determine, and continue to monitor, the prudence of
17
     each investment option available to Plan Participants.” DiFelice v. U.S. Airways, Inc., 497 F.3d
18
19   410, 423 (4th Cir. 2007); 29 C.F.R. § 2550.404a-1; DOL Adv. Opinion 98-04A; DOL Adv.

20   Opinion 88-16A. Thus, a defined contribution Plan fiduciary cannot “insulate itself from liability

21   by the simple expedient of including a very large number of investment alternatives in its
22   portfolio and then shifting to the participants the responsibility for choosing among them.”
23
     Hecker v. Deere & Co., 569 F.3d 708, 711 (7th Cir. 2009). Fiduciaries have “a continuing duty
24
     to monitor investments and remove imprudent ones[.]” Tibble, 135 S. Ct. at 1828-29.
25
            33.     “Wasting beneficiaries’ money is imprudent. In devising and implementing
26
     strategies for the investment and management of trust assets, trustees are obligated to minimize
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 1   costs.” Uniform Prudent Investor Act §7.
 2          34.     29 U.S.C. § 1132(a)(2) authorizes Plan Participants to bring a civil action for
 3
     appropriate relief under 29 U.S.C. § 1109.
 4
                                DEFINED CONTRIBUTION INDUSTRY
 5
            35.     Over the past three decades, defined contribution plans have become the most
 6
     common employer-sponsored retirement plan. A defined contribution plan allows employees to
 7

 8   make pre-tax elective deferrals through payroll deductions to an individual account under a plan.

 9   Among many options, employers may make contributions on behalf of all employees and/or

10   make matching contributions based on the employees’ elective deferrals. Employees with money
11
     in a plan are referred to as “Participants.”
12
     Retirement Plan Services
13
            36.     Defined Contribution plan fiduciaries virtually always hire service providers to
14
     deliver a retirement plan benefit to their employees. There is a large group of national retirement
15

16   plan services providers (“RPSP”), commonly and generically referred to as “recordkeepers,” that

17   have developed bundled service offerings that can meet all the needs of virtually all retirement
18   plans. In some cases, these RPSP have developed all the capabilities “in-house,” while in other
19
     cases, the RPSP outsource some of the required services to other service providers.
20
            37.     These RPSP deliver all the essential recordkeeping and related administrative
21
     (“RK&A”) services through standard bundled offerings.
22

23          38.     Historically the plan sponsors of 401(k) defined contribution retirement plans

24   sometimes offered their retirement plan to their employees through a “multi-vendor”

25   arrangement in which the employees could choose among several RPSP. Over time there are
26   fewer and fewer plan sponsors using a “multi-vendor” approach because it is more costly with no

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 1   material benefit, less efficient, and requires a significant duplication of services. In virtually all
 2   cases each RPSP has the capabilities to provide the same service to the employees that are
 3
     delivered by multiple providers in multi-vendor arrangements. As a result, for several years it has
 4
     been a best-practice for 401(k) plans to eliminate multi-vendor arrangements and 401(k) plan
 5
     sponsors have greatly reduced their use of the multi-vendor structure over the past several years.
 6

 7           39.     There are two types of essential RK&A services provided by all RPSP. For large

 8   plans with substantial bargaining power (like the Plan), the first type, “Bundled RK&A,” is

 9   provided as part of a “bundled” fee for a buffet style level of service (meaning that the services
10   are provided in retirement industry parlance on an “all-you-can-eat” basis). The Bundled RK&A
11
     services include, but are not limited to, the following standard services:
12
                   a. Recordkeeping;
13
                   b. Transaction Processing (which includes the technology to process purchases and
14                    sales of participants’ assets as well as providing the participants the access to
                      investment options selected by the plan sponsor);
15
                   c. Administrative Services related to converting a plan from one RPSP to another
16                    RPSP;
                   d. Participant communications (including employee meetings, call centers/phone
17
                      support, voice response systems, web account access, and the preparation of other
18                    communications to participants, e.g., Summary Plan descriptions and other
                      participant materials);
19                 e. Maintenance of an employer stock fund (if needed);
20                 f. Plan Document Services which include updates to standard plan documents to
                      ensure compliance with new regulatory and legal requirements;
21
                   g. Plan consulting services including assistance in selecting the investments offered
22                    to participants;
                   h. Accounting and audit services including the preparation of annual reports, e.g.,
23                    Form 5500 (not including the separate fee charged by an independent third-party
                      auditor);
24
                   i. Compliance support which would include, e.g., assistance interpreting plan
25                    provisions and ensuring the operation of the plan is in compliance with legal
                      requirements and the provisions of the plan (which would not include separate
26                    legal services provided by a third-party law firm); and

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 1                 j. Compliance testing to ensure the plan complies with Internal Revenue
                      nondiscrimination rules.
 2
            40.        The second type of essential RK&A services, hereafter referred to as “Ad Hoc
 3

 4   RK&A” services, provided by all RPSP, often have separate, additional fees based on the

 5   conduct of individual participants and the usage of the service by individual participants (usage

 6   fees). The rationale is, for example, that one participant who does not take out a loan should not
 7
     pay fees to cover the costs of other participants who choose to take a loan. These “Ad Hoc
 8
     RK&A” services typically include, but are not limited to, the following:
 9
                  a.   Loan Processing;
10                b.   Brokerage services / account maintenance (if offered by the plan);
                  c.   Distribution services; and
11
                  d.   Processing of Qualified Domestic Relations Orders.
12
            41.        For large plans with over 4,000 participants, like the Plan, any minor variations in
13
     the way that these two types of essential RK&A services, as well as any other RK&A services
14
     included in the bundled offering of RK&A services, are delivered has no material impact on the
15

16   fees charged by RPSP. That fact is confirmed by the practice of all RPSP quoting fees for the

17   Bundled RK&A services on a per participant basis without regard for any individual differences

18   in services requested -- which are treated by the RPSP as immaterial because they are, in fact,
19
     inconsequential from a cost perspective to the delivery of the Bundled RK&A services.
20
            42.        The combination of Bundled RK&A Services and Ad Hoc RK&A services can be
21
     referred to as retirement plan services (“RPS”). The vast majority of fees earned by RPSP
22
     through providing RPS typically come from the bundled fee for providing the Bundled RK&A
23

24   services as opposed to the Ad Hoc RK&A services.

25          43.        The Plan had a standard package of RPS, i.e., Bundled RK&A Services and
26   Ad Hoc RK&A services as described above.

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 1          44.     RPSP offer the same bundles and combinations of services as their competitors.
 2   As a result, the market for defined contribution retirement plan services has become increasingly
 3
     price competitive, particularly for large plans that, like the Plan, have a sizable number of
 4
     participants and a large amount of assets.
 5
            45.     Over the past twenty years, the fees that RPSP have been willing to accept for
 6

 7   providing retirement plan services has significantly decreased. RPSP are willing (or

 8   competitively required) to accept a lower and more competitive fee as a result of, among other

 9   things, the competitive pressures created by greater information becoming available to plan
10   fiduciaries and the reduction in opaque fee structures.
11
            46.     By the start of and during the entire Class Period, the level of fees that RPSP have
12
     been willing to accept for providing RPS has stabilized, and has not materially changed for large
13
     plans, including the Plan. In other words, reasonable RPS fees paid in 2018 or 2019 are
14

15   representative of the reasonable fees for RPS during the entire Class Period.

16          47.     The underlying cost to a RPSP of providing the RPS to a defined contribution

17   plan is primarily dependent on the number of participant accounts in the Plan rather than the
18
     amount of assets in the Plan.
19
            48.     The incremental cost for a RPSP to provide RPS for a participant’s account does
20
     not materially differ from one participant to another and is not dependent on the balance of the
21
     participant’s account.
22

23          49.     RSPS for relatively larger defined contribution plans, like the Plan, experience

24   certain efficiencies of scale that lead to a reduction in the per-participant cost as the number of
25   participants increase because the marginal cost of adding an additional participant to a
26
     recordkeeping platform is relatively low.

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 1          50.     Therefore, while the total cost to an RPSP to deliver RPS increases as more
 2   participants join the Plan, the cost per participant to deliver the RPS decreases.
 3
            51.     Since at least the early 2000s, plan fiduciaries and their consultants and advisors
 4
     have been aware of this cost structure dynamic for RPSP.
 5
            52.     Since at least the early 2000s, Defendants should have been aware of this cost
 6

 7   structure dynamic for RPSP.

 8          53.     Sponsors of defined contribution plans contract for RPS separately from any

 9   contracts related to the provision of investment management services to plan participants.
10          54.     The investment options selected by plan fiduciaries often have a portion of the
11
     total expense ratio allocated to the provision of RPS performed by the RPSP on behalf of the
12
     investment manager.
13
            55.     As a result, RPSP often make separate contractual arrangements with mutual fund
14

15   providers. For example, RPSP often collect a portion of the total expense ratio fee of the mutual

16   fund in exchange for providing services that would otherwise have to be provided by the mutual

17   fund. These fees are known as “revenue sharing.”
18
            56.     For example, if a mutual fund has a total expense ratio fee of 0.75%, the mutual
19
     fund provider may agree to pay the RPSP 0.25% of the 0.75% total expense ratio fee that is paid
20
     by the investor in that mutual fund (in this context the Plan Participant). That 0.25% portion of
21
     the 0.75% total expense ratio fee is known as the “revenue sharing.”
22

23          57.     In the context of defined contribution plans, the amount of revenue sharing is

24   deemed to be the amount of revenue paid by participants that is allocable to RPS. The difference
25   between the total expense ratio and the revenue sharing is known as the “Net Investment
26
     Expense to Retirement Plans.”

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 1            58.   In the context of defined contribution plans, when a Plan adopts prudent and best
 2   practices, the Net Investment Expense to Retirement Plans is the actual amount a Plan
 3
     Participant pays for the investment management services provided by a portfolio manager.
 4
              59.   RPSP typically collect their fees through direct payments from the Plan or
 5
     through indirect compensation such as revenue sharing, or some combination of both.
 6

 7            60.   Regardless of the pricing structure that the plan fiduciary negotiates with any

 8   service provider, the amount of compensation paid to service providers, including the RPSP,

 9   must be reasonable.
10            61.   As a result, plan fiduciaries must understand the total dollar amounts paid to their
11
     service providers, including the RPSP, and be able to determine whether the compensation is
12
     reasonable by understanding what the market is for the RPS received by the Plan.
13
              62.   Because RPS fees are actually paid in dollars and because of the cost dynamic,
14

15   the fees paid for RPS are evaluated and compared on a dollar per participant basis.

16            63.   It is well known among retirement Plan consultants and advisors (who often act as

17   co-fiduciaries to the Plan Fiduciaries) that, all else being equal, a Plan with more participants can
18
     and will receive a lower effective per participant RPS fee when evaluated on a per participant
19
     basis.
20
              64.   During the Class Period, Defendants knew and/or were aware that a Plan with
21
     more participants can and will receive a lower effective per participant RPS fee when evaluated
22

23   on a per participant basis.

24            65.   During the Class Period, Defendants knew and/or were aware that the Plan should
25   have received a lower effective per participant RPS fee when evaluated on a per participant
26
     basis.

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 1   Investments
 2          66.      Plan Fiduciaries of a defined contribution Plan have a continuing and regular
 3
     responsibility to select and monitor all investment options they make available to Plan
 4
     Participants.
 5
            67.      The primary purpose in selecting Plan investments is to give all participants the
 6

 7   opportunity to create an appropriate asset allocation under modern portfolio theory by providing

 8   diversified investment alternatives.

 9          68.      In selecting different investment options to make available to Plan Participants,
10   the Plan Fiduciaries are held to the prudent investor standard when choosing investment
11
     managers or, alternatively, choosing index investment options. When choosing an active
12
     investment option, the analysis is focused on determining whether the portfolio manager is likely
13
     to outperform an appropriate benchmark.
14

15          69.      Accordingly, the primary focus when choosing an active investment option to

16   make available to Plan Participants is the skill of the portfolio manager. In many cases, a plan

17   sponsor can receive the investment management services of the same portfolio manager through
18
     different share classes. When the same investment management services are provided through a
19
     mutual fund with different share classes, the fee paid to the portfolio manager is the same for all
20
     share classes. The difference in the share class fees is the amount of additional fees which can be
21
     used to pay for, among other things, RPS services.
22

23          70.      As a result, when a prudent plan fiduciary can select from among several

24   alternative share classes of the identical investment option, the prudent plan fiduciary selects the
25   share class that provides the lowest Net Investment Management Expense to Retirement Plans.
26


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 1                                               THE PLAN
 2          71.     During the entire Class Period, the Plan received RPS from Transamerica
 3   Retirement Solutions LLC (“Transamerica”).
 4
            72.     At all relevant times, the Plan’s fees were excessive when compared with other
 5
     comparable 401(k) Plans offered by other sponsors that had similar numbers of plan participants,
 6
     and similar amounts of money under management. The fees were also excessive relative to the
 7

 8   RPS services received. These excessive fees led to lower net returns than participants in

 9   comparable 401(k) Plans enjoyed.

10          73.     During the Class Period, Defendants breached their duties owed to the Plan, to
11
     Plaintiff and all other Plan Participants, by: (1) failing to monitor the RPS fees paid by the plan
12
     to ensure that they were reasonable and, as a result, authorizing the plan to pay objectively
13
     unreasonable and excessive RPS fees, relative to the RPS services received; (2) failing to
14
     objectively and adequately review the Plan’s investment portfolio with due care to ensure that
15

16   each investment option was prudent, in terms of cost; and (3) maintaining certain funds in the

17   Plan despite the availability of identical or similar investment options with lower costs and/or
18   better performance histories.
19
            74.     Defendants’ mismanagement of the Plan, to the detriment of Plan Participants and
20
     beneficiaries, breached the fiduciary duties of prudence and loyalty in violation of 29 U.S.C.
21
     § 1104.
22

23                     STANDARD OF CARE FOR PRUDENT FIDUCIARIES
                        SELECTING & MONITORING RECORDKEEPERS
24
            75.     A plan fiduciary is required to fully understand all sources of revenue received by
25
     all service providers, including its RPSP. It must regularly monitor that revenue to ensure that
26
     the compensation received is, and remains, reasonable for the services provided.
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 1          76.     Prudent plan fiduciaries ensure they are paying only reasonable fees for RPS by
 2   soliciting competitive bids from other service providers to perform the same services currently
 3
     being provided to the Plan. This is not a difficult or complex process and is performed regularly
 4
     by prudent plan fiduciaries.
 5
            77.     Prudent plan fiduciaries have all of this information readily available and can
 6

 7   easily receive a quote from other RPSP to determine if the current level of RPS fees is

 8   reasonable.

 9          78.     Having received bids, the prudent plan fiduciary can negotiate with its current
10   provider for a lower fee and/or move to a new provider to provide the same (or better) services
11
     for a competitive reasonable fee if necessary.
12
            79.     Prudent plan fiduciaries follow this same process to monitor the fees of retirement
13
     plan advisors and/or consultants as well as any other covered service providers.
14

15          80.     After the revenue requirement is negotiated, the plan fiduciary determines how to

16   pay the negotiated RPS fee. The employer/plan sponsor can pay the RPS fee on behalf of

17   participants, which is the most beneficial to plan participants. If the employer were paying the
18
     fee, the employer would have an interest in negotiating the lowest fee a suitable RPSP would
19
     accept. Usually, however, the employer decides to have the plan (plan participants) pay the
20
     RPS fee instead. If the RPS fee is paid by plan participants, the plan fiduciary can allocate the
21
     negotiated fee among participant accounts on a per capita or pro-rata basis.
22

23          81.     For example, if the plan negotiates a per participant revenue threshold of $30.00

24   for the Bundled RK&A, the plan does not need to require that each participant pay $30.00.
25   Rather, the plan fiduciary could determine that an asset-based fee is more appropriate for plan
26
     participants and allocate the Bundled RK&A fee pro rata to participants. For example,

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 1   a 15,000 participant-plan with a $30.00 revenue threshold would pay $450,000 for RPS. If the
 2   plan had $3,000,000,000 in assets, then the $450,000 would work out to 1.5 basis points.
 3
     Accordingly, the plan fiduciary could allocate the $450,000 to plan participants by requiring that
 4
     each participant pay 1.5 basis points.
 5
               82.          In an asset-based pricing structure, the amount of compensation received by the
 6

 7   service provider is based on a percentage of the total assets in the plan. This structure creates

 8   situations in which the RPS do not change but, because of market appreciation and contributions

 9   to the plan, the revenue received by the RPSP increases. This structure was historically preferred
10   by RPSP because it allowed them to obtain an increase in revenue without having to ask the
11
     client to pay a higher fee.
12
               83.          Regardless of the pricing structure, and Plaintiff states no preference, the plan
13
     fiduciary must ensure that the fees paid to service providers for RPS are reasonable.
14

15             84.          All of these standards were accepted and understood by prudent plan fiduciaries,

16   including Defendants, at all times during the Class Period.

17             85.          For example, fiduciary best practices based on DOL guidelines, case law, and
18
     marketplace experience are as follows:
19
                            1. Price administrative fees on a per-participant basis.
20                          2. Benchmark and negotiate recordkeeping and investment fees separately.
21                      3. Benchmark and negotiate investment fees regularly, considering both fund
               vehicle and asset size.
22
                            4. Benchmark and negotiate recordkeeping and trustee fees at least every other
23             year.
24                          ....
                            7. Review services annually to identify opportunities to reduce administrative
25                      1
               costs.
26   1
         “Fiduciary Best Practices,” DC Fee Management — Mitigating Fiduciary Risk and Maximizing Plan Performance,
         Mercer Investment Consulting (2013).
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 1          86.      Prudent fiduciaries implement three related processes to prudently manage and
 2   control a plan’s RPS costs. Tussey v. ABB, Inc., 746 F.3d 327, 336 (8th Cir. 2014) (holding that
 3
     fiduciaries of a 401(k) Plan “breach[] their fiduciary duties” when they “fail[] to monitor and
 4
     control recordkeeping fees” incurred by the Plan); George v. Kraft Foods Glob., Inc., 641 F.3d
 5
     786, 800 (7th Cir. 2011) (explaining that defined contribution plan fiduciaries have a “duty to
 6

 7   ensure that [the recordkeeper’s] fees [are] reasonable”).

 8          87.      First, a plan fiduciary must pay close attention to the RPS fees being paid by the

 9   Plan. A hypothetical prudent fiduciary tracks the RPSP’s expenses by demanding documents that
10   summarize and contextualize the RPSP’s compensation, such as fee transparencies, fee analyses,
11
     fee summaries, relationship pricing analyses, cost-competitiveness analyses, and multi-practice
12
     and standalone pricing reports.
13
            88.      Second, to make an informed evaluation as to whether a RPSP or other service
14

15   provider is receiving no more than a reasonable fee for the services provided to a plan, a prudent

16   hypothetical fiduciary must identify all fees, including direct compensation and revenue sharing

17   being paid to the plan’s RPSP. To the extent that a plan’s investments pay asset-based revenue
18
     sharing to the RPSP, prudent fiduciaries monitor the amount of the payments to ensure that the
19
     RPSP’s total compensation from all sources does not exceed reasonable levels, and require that
20
     any revenue sharing payments that exceed a reasonable level be returned to the plan and its
21
     participants.
22

23          89.      Third, a hypothetical plan fiduciary must remain informed about overall trends in

24   the marketplace regarding the fees being paid by other plans, as well as the RPS rates that are
25   available. This will generally include conducting a Request for Proposal (“RFP”) process at
26
     reasonable intervals, and immediately if the plan’s recordkeeping/RPS expenses have grown

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 1   significantly or appear high in relation to the general marketplace.
 2          90.     That said, by merely soliciting bids from other RPSP, a prudent plan fiduciary can
 3
     quickly and easily gain an understanding of the current market for similar RPS services and have
 4
     an idea of a starting point for negotiation. Accordingly, the only way to determine the true
 5
     market price at a given time is to obtain competitive bids through some process. See George v.
 6

 7   Kraft Foods Global, Inc., 641 F.3d 786, 800 (7th Cir. 2011) (failure to solicit bids, and higher-

 8   than-market recordkeeping fees, supported triable fiduciary breach claim).

 9        THE PLAN’S FIDUCIARIES DID NOT EFFECTIVELY MONITOR RPS FEES
             AND, AS A RESULT, THE PLAN PAID UNREASONABLE RPS FEES
10
            91.     A plan fiduciary must continuously monitor its RPS fees by regularly soliciting
11

12   competitive bids to ensure fees paid to covered service providers (such as RPSP) are reasonable.

13          92.     During the Class Period, Defendants knew or should have known that they must
14   regularly monitor the Plan’s RPS fees paid to covered service providers, including but not
15
     limited to Transamerica.
16
            93.     During the Class Period, Defendants failed to regularly monitor the Plan’s RPS
17
     fees paid to covered service providers, including but not limited to Transamerica.
18
19          94.     During the Class Period, Defendants knew or should have known that they must

20   regularly solicit quotes and/or competitive bids from covered service providers, including but not

21   limited to Transamerica, in order to avoid paying objectively unreasonable fees for RPS services.
22          95.     During the Class Period, Defendants failed to regularly solicit quotes and/or
23
     competitive bids from covered service providers, including but not limited to Transamerica, in
24
     order to avoid paying unreasonable fees for RPS services.
25
            96.     During the Class Period, Defendants knew or should have known that it was in
26
     the best interests of the Plan’s Participants to ensure that the Plan paid no more than a
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 1   competitive reasonable fee for RPS services.
 2          97.      During the Class Period, and unlike a hypothetical prudent fiduciary, Defendants
 3
     failed to ensure that the Plan paid no more than a competitive reasonable fee for RPS services.
 4
            98.      During the Class Period, and unlike a hypothetical prudent fiduciary, Defendants
 5
     followed a fiduciary process that was done ineffectively given the objectively unreasonable fees
 6

 7   paid for RPS services.

 8          99.      During the Class Period, and unlike a hypothetical prudent fiduciary, Defendants

 9   did not engage in objectively reasonable and/or prudent efforts to ensure that the Plan paid no
10   more than a competitive reasonable fee for RPS services.
11
            100.     During the Class Period and because Defendants failed to regularly monitor the
12
     Plan’s RPS fees paid to covered service providers, including but not limited to Transamerica, the
13
     Plan’s RPS service fees were significantly higher than they would have been had Defendants
14

15   engaged in this process.

16          101.     During the Class Period, given the Plan’s objectively unreasonable RPS fees,

17   Defendants engaged in an ineffective fiduciary process in soliciting competitive bids for these
18
     services.
19
            102.     During the Class Period and because Defendants did not engage in objectively
20
     reasonable and/or prudent efforts when paying fees for RPS services to covered service
21
     providers, including but not limited to Transamerica, these RPS service fees were significantly
22

23   higher than they would have been had Defendants engaged in these efforts.

24          103.     From the years 2015 through 2019 and based upon the best publicly available
25   information, which was equally or even more easily available to Defendants during the Class
26
     Period, the table below shows the actual year-end participants and annual RPS fees illustrating

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 1   that the Plan had on average 2,880 participants with account balances and paid an average
 2   effective annual RPS fee of at least approximately $260,250, which equates to an average of at
 3
     least approximately $90 per participant. These are the minimum amounts that could have been
 4
     paid.
 5

 6
                                  Retirement Plan Services (RPS) Fees
                                         2015        2016        2017        2018           2019          Average
 7   Participants                        1,744       1,713        3,236       3,675         4,034           2,880
     Est. RPS Fees                     $171,229    $168,185     $267,536    $338,991      $355,308        $260,250
 8
     Est. RPS Fees Per Participant        $98         $98          $83         $92           $88             $90
 9
               104.    From the years 2015 through 2019 and based upon the best publicly available
10
     information, which was equally or even more easily available to Defendants during the Class
11

12   Period, the table below illustrates the annual RPS fees paid by other comparable plans of similar

13   sizes with similar amounts of money under management, receiving a similar level and quality of

14   services, compared to the average annual RPS fees paid by the Plan (as identified in the table
15   above).
16
         Comparable Plans’ RPS Fees Based on Publicly Available Information from Form 55001
17                                                                            RPS
                                                                              Fee                             Graph
18              Plan              Participants      Assets        RPS Fee     /pp       Recordkeeper          Color
     Weil, Gotshal & Manges
19
     Section 401(K) Savings and      2,564       $469,229,171    $146,518     $57      Transamerica               White
     Investment Plan
20
     H&E Equipment
21   Services, Inc. 401(K)           2,693       $104,755,982    $173,389     $64            Voya                 White
     Profit Sharing Plan
22   Generac Plan Average
                                     2,880       $115,086,282    $260,250     $90      Transamerica               Red
     Fee
23
     Crum & Forster
                                     3,009       $305,102,969    $166,902     $55         Vanguard                White
24   Employee Savings Plan
     Fruit Of the Loom 401(K)
                                     3,554       $185,899,268    $227,869     $64      T. Rowe Price              White
25   Retirement Savings Plan
     Associated Materials,
26
     LLC 401(K) Retirement           3,639        $99,814,049    $179,475     $49             ADP                 White
     Plan
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 1   Hitachi Vantara
     Corporation Retirement          3,890      $680,441,899     $174,568    $45           Fidelity              White
 2   and Savings Program
 3   The Boston Consulting
     Group, Inc. Employees’
                                     4,369      $421,208,989     $185,805    $43         Vanguard                White
 4   Profit-Sharing
     Retirement Fund
 5   Under Armour 401(K)
                                     4,485      $179,198,512     $89,400     $20      T. Rowe Price              White
     Plan
 6
     Healthfirst Profit Sharing
                                     4,950      $227,721,800     $201,889    $41         Vanguard                White
 7   401(K) Plan
     Mercedes-Benz USA, LLC
 8   Employees’ Retirement           5,713      $572,242,547     $331,038    $58            Voya                 White
     Savings Plan
 9   Smithfield Foods, Inc.
                                     6,149      $500,178,777     $278,907    $45        Great-West               White
     Salaried 401(K) Plan
10
     Genesis Health System
                                     6,260      $231,793,794     $325,894    $52      Transamerica               White
11   Retirement Savings Plan
     Flowserve Corporation
12                                   6,395      $892,435,613     $263,380    $41      T. Rowe Price              White
     Retirement Savings Plan
13   St. Luke’s Health
                                     7,142      $241,600,647     $333,578    $47      Transamerica               White
     Network 403(B) Plan
14
     Memorial Health System
15   Defined Contribution            7,318      $221,242,194     $385,754    $53      Transamerica               White
     Retirement Savings Plan
16   1
         Price calculations are based on 2018 Form 5500 information.
17
               105.    From the years 2015 through 2019 and based upon the best publicly available
18
     information, which was equally or even more easily available to Defendants during the Class
19
     Period, the graph below illustrates the annual RPS fees paid by other comparable plans of similar
20
     sizes with similar amounts of money under management, receiving a similar level and quality of
21

22   services, compared to the average annual RPS fees paid by the Plan (as identified in the table

23   above), with the white data points representing RPS fees that RPS providers offered to (and were
24   accepted by) comparable Plans.
25

26


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12
            106.    From the years 2015 to 2019 and based upon the best publicly available
13
     information, which was equally or even more easily available to Defendants during the Class
14

15   Period, the table and graph above illustrates that the Plan paid an effective average annual

16   RPS fee of at least $90 per participant for RPS.

17          107.    From the years 2015 through 2019 and based upon the best publicly available
18
     information, which was equally or even more easily available to Defendants during the Class
19
     Period, the table and graph above illustrate that a hypothetical prudent plan fiduciary would have
20
     paid on average an effective annual RPS fee of around $52 per participant, if not lower.
21
            108.    From the years 2015 through 2019 and based upon the best publicly available
22

23   information, which was equally or even more easily available to Defendants during the Class

24   Period, and as also compared to other plans of similar sizes with similar amounts of money under
25   management, had Defendants been acting in the exclusive best interest of the Plan’s Participants
26
     the Plan actually would have paid significantly less than an average of approximately

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 1   $260,250 per year in RPS fees, which equated to an effective average of approximately $90 per
 2   participant per year.
 3
            109.    From the years 2015 through 2019 and based upon the best publicly available
 4
     information, which was equally or even more easily available to Defendants during the Class
 5
     Period, and as also compared to other plans of similar sizes with similar amounts of money under
 6

 7   management, receiving a similar level and quality of services, had Defendants been acting in the

 8   best interests of the Plan’s Participants, the Plan actually would have paid on average a

 9   reasonable effective annual market rate for RPS of approximately $149,781 per year in RPS fees,
10   which equates to approximately $52 per participant per year. During the entirety of the Class
11
     Period, a hypothetical prudent plan fiduciary would not agree to pay almost double what they
12
     could otherwise pay for RPS.
13
            110.    From the years 2015 through 2019 and based upon the best publicly available
14

15   information, which was equally or even more easily available to Defendants during the Class

16   Period, the Plan additionally cost its Participants on average approximately $110,469 per year in

17   RPS fees, which equates to on average approximately $38 per participant per year.
18
            111.    From the years 2015 to 2019, and because Defendants did not act in the best
19
     interests of the Plan’s Participants, and as compared to other plans of similar sizes with similar
20
     amounts of money under management, receiving a similar level and quality of services, the Plan
21
     actually cost its Participants a total minimum amount of approximately $552,345 in unreasonable
22

23   and excessive RPS fees.

24          112.    From the years 2015 to 2019 based upon the best publicly available information,
25   which was equally or even more easily available to Defendants during the Class Period, because
26
     Defendants did not act in the best interests of the Plan’s Participants, and as compared to other

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 1   plans of similar sizes with similar amounts of money under management, receiving a similar
 2   level and quality of services, the Plan actually cost its Participants (when accounting for
 3
     compounding percentages) a total, cumulative amount in excess of $723,913 in RPS fees.
 4
            113.     During the entirety of the Class Period, and unlike a hypothetical prudent
 5
     fiduciary, Defendants did not regularly and/or reasonably assess the Plan’s RPS fees it paid to
 6

 7   Transamerica.

 8          114.     During the entirety of the Class Period, and unlike a hypothetical prudent

 9   fiduciary, Defendants did not engage in any regular and/or reasonable examination and
10   competitive comparison of the RPS fees it paid to Transamerica vis-à-vis the fees that other
11
     RPS providers would charge for the same services.
12
            115.     During the entirety of the Class Period, Defendants knew or had knowledge that it
13
     must engage in regular and/or reasonable examination and competitive comparison of the Plan’s
14

15   administrative costs and RPS fees it paid to Transamerica, but Defendants either simply failed to

16   do so, or did so ineffectively given that it paid more than 100% higher for RPS fees than it

17   should have.
18
            116.     During the entirety of the Class Period and had Defendants engaged in regular
19
     and/or reasonable examination and competitive comparison of the RPS fees it paid to
20
     Transamerica, it would have realized and understood that the Plan was compensating
21
     Transamerica unreasonably and inappropriately for its size and scale, passing these objectively
22

23   unreasonable and excessive fee burdens to Plaintiff and Plan Participants. The fees were also

24   excessive relative to the RPS services received, since such services are standard for large 401(k)
25   plans like the Plan.
26


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 1           117.   During the entirety of the Class Period and by failing to recognize that the Plan
 2   and its participants were being charged much higher RPS fees than they should have been and/or
 3
     by failing to take effective remedial actions as described herein, Defendants breached their
 4
     fiduciary duties of loyalty and prudence to Plaintiff and Plan Participants.
 5
               STANDARD OF CARE FOR PRUDENT FIDUCIARIES SELECTING
 6                     & MONITORING INVESTMENT OPTIONS
 7
             118.   For all practical purposes, there is a commonly accepted process to select and
 8
     monitor investment options which is based on modern portfolio theory and the prudent investor
 9
     standard. Under ERISA, plan fiduciaries are required to engage investment consultants or
10
     advisors to the extent that the plan fiduciaries do not have the investment expertise necessary to
11

12   select and monitor investments under modern portfolio theory.

13           119.   That accepted process involves, among other things, evaluating the performance
14   history, tenure, and stability of the current portfolio manager; the risk adjusted returns; and the
15
     fees.
16
             120.   When an active investment option is chosen, one of the most critical aspects of
17
     the analysis is to choose a portfolio manager because it is the skill of the portfolio manager that
18
19   differentially impacts the performance of the investment.

20           121.   From the perspective of a plan participant, the other critical component of the

21   analysis is the fees. However, the total expense ratio of an investment option is often comprised
22   of multiple different types of fees, only one of which is specifically associated with the fee of the
23
     actual portfolio manager.
24
             122.   As a result, a plan fiduciary is required to understand the interrelationship
25
     between the pricing structure it has negotiated with the RPSP for RPS services as well as the
26
     different fee components of the investment options selected to be made available to plan
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 1   participants.
 2          123.     Plan fiduciaries of plans as large as the Defendant’s Plan are deemed to be
 3
     “Institutional Investors” and are deemed to have a higher level of knowledge and understanding
 4
     of the different investment share classes and the different components of fees within the total
 5
     expense ratio of an investment option.
 6

 7          124.     In fact, as “Institutional Investors,” retirement plans often have the ability to

 8   access investment options and service structures that are not available or understood by retail

 9   investors such as individual plan participants like Plaintiff.
10          125.     For example, minimum investment requirements and other fees or restrictions are
11
     routinely waived for large retirement plans and were waived with the Plan’s investments.
12
            126.     As a result, when a plan fiduciary can choose among different share classes
13
     (or other types of investment options, e.g., collective trusts) to receive the services of a specific
14

15   portfolio manager, the plan fiduciary is required to understand all the fees related to the different

16   share classes and collective trusts and choose the share class or collective trust that is in the best

17   interest of the plan participants. This is especially critical when the pricing structure provides
18
     compensation to the RPSP from revenue sharing paid by plan participants as part of the total
19
     expense ratio of the investment options selected by the plan fiduciaries.
20
            127.     If a plan fiduciary chooses an active investment option, whether either a less
21
     costly active investment option or an alternative index option, the plan fiduciary must make a
22

23   specific and informed finding that the probability that the active portfolio manager will

24   outperform the alternative active investment option or index warrants the higher fees charged by
25   the active portfolio manager and the risk/reward tradeoffs show that the potential of
26
     outperformance is in the best interest of plan participants.

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 1           128.      If a plan fiduciary chooses an active investment option when a less costly active
 2   investment option or alternative index option is available, but the plan fiduciary does not make a
 3
     specific and informed finding that the probability that the active portfolio manager will
 4
     outperform the index (and warranting the higher fees charged by the active portfolio manager)
 5
     and the risk/reward tradeoffs show that the potential of outperformance is in the best interest of
 6

 7   plan participants, the plan fiduciary has acted unreasonably and/or imprudently.

 8                           THE PLAN PAID UNREASONABLY HIGH FEES
                                 FOR IMPRUDENT SHARE CLASSES
 9
             129.      Many mutual funds offer multiple classes of shares in a single mutual fund that
10
     are targeted at different investors. Generally, more expensive shares are targeted at small
11

12   investors with less bargaining power, while lower cost shares are targeted at larger investors with

13   greater assets.
14           130.      There is no material difference between share classes other than costs – the funds
15
     hold identical investments and have the same portfolio manager.
16
             131.      As noted above, it is well known among institutional investors that mutual fund
17
     companies routinely waive investment minimums for large retirement plans, and they did so with
18
19   the Plan. Moreover, large defined contribution plans such as the Plan have sufficient assets to

20   qualify for most of the lowest cost share classes.

21           132.      So, unlike individual or retail investors, retirement plan fiduciaries often have
22   access to several different share classes. A prudent plan fiduciary ensures that the plan selects the
23
     share class that provides the greatest benefit to plan participants given the institutional
24
     advantages provided to retirement plans in relation to retail investors. The share class that
25
     provides the greatest benefit to plan participants is the share class that gives plan participants
26
     access to the portfolio managers at the lowest net fee for the services of the portfolio manager
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 1   and is referred to as the “Net Investment Expense to Retirement Plans.”
 2           133.    As described in more detail below, choosing the share class that provides the
 3
     lowest Net Investment Expense to Retirement Plans is always the prudent choice because the use
 4
     of the share class that provides the lowest Net Investment Expense to Retirement Plans will
 5
     result in one of the following superior options: 1) The amount of the fee extraction to cover the
 6

 7   RPS fee will be lower; or 2) the amount of excess revenue being credited back to participant

 8   accounts is greater.

 9           134.    During the Class Period, Defendants knew or should have known that they are
10   required to select the share classes that provide the greatest benefit to plan participants, i.e., the
11
     lowest Net Investment Expense to Retirement Plans.
12
             135.    During the Class Period, Defendants knew or should have known that it must
13
     engage in an objectively reasonable search for and selection of the share classes that provide the
14

15   greatest benefit to plan participants, i.e., the lowest Net Investment Expense to Retirement Plans.

16           136.    During the Class Period, in many cases Defendants did not use share classes that

17   provide the greatest benefit to plan participants and in some cases even switched from one share
18
     class to a different share class that charged a higher Net Investment Expense to Retirement Plans.
19
             137.    During the Class Period, Defendants did not engage in an objectively reasonable
20
     search for and selection of the share classes that provide the greatest benefit to plan participants,
21
     i.e., the lowest Net Investment Expense to Retirement Plans.
22

23           138.    The following charts identifies one of Defendants’ share class investments during

24   the Class Period vis-à-vis the prudent alternative that provided the greatest benefit to Plan
25   Participants:
26


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 1                    Defendants' Investment                                 Prudent Alternative Share Class

 2                                                      Net                                                          Net    Defendants'
                                                    Investment                                                   Investment    Plan's
                                       Exp Revenue Expense to                                       Exp Revenue Expense to Investment
 3                                    Ratio Sharing Retirement                                     Ratio Sharing Retirement Excessive
     Ticker         Fund Name          (%)    (%)    Plans (%)   Ticker         Fund Name           (%)    (%)    Plans (%)  Fees (%)
 4            American Funds                                              American Funds
     RERFX                            0.51%   0.00%   0.51%      RERGX                             0.49%   0.00%      0.49%            4%
              EuroPacific Growth R5                                       Europacific Growth R6
 5            Baird Aggregate Bond                                        Baird Aggregate Bond
     BAGIX                            0.30%   0.00%   0.30%      BAGSX                             0.55%   0.28%      0.27%            11%
              Inst                                                        Inv
 6   FMIUX    FMI Common Stock        0.90%   0.00%   0.90%      FMIMX    FMI Common Stock         1.01%   0.40%      0.61%            48%
              JPMorgan Small Cap                                          JPMorgan Small Cap
      VSEIX                           0.99%   0.25%   0.74%      JSERX                             0.80%   0.10%      0.70%            6%
 7            Equity I                                                    Equity R5
                     Average          0.68%   0.06%   0.61%                      Average           0.71%   0.20%      0.52%        17.11%

 8
               139.       The underlying data and information reflected in the charts above are truthful,
 9
     accurate, and derived from publicly available information, which was equally as available to
10

11   Defendants during the Class Period, including, but not limited to, standard reports prepared by

12   the Defendants’ RPS provider as well as the 408(b)(2) Fee Disclosure documents provided to the

13   Defendant Plan by its RPSP.
14
               140.       Based upon data and information reflected in the charts above, the excessive
15
     fee paid by Participants during the Class Period as a result of Defendants’ failure to use the
16
     prudent alternative share class that provided the greatest benefit to Plan Participants was
17
     approximately 17%.
18
19             141.       There is no rational reason for a prudent plan fiduciary to choose an investment

20   option that effectively charges a fee that is approximately 17% higher than an alternative
21   investment option that provides the identical services of the same portfolio manager.
22
               142.       During the Class Period, and had Defendants engaged in a prudent process to
23
     select the share class of a selected portfolio manager that provides the greatest benefit to plan
24
     participants, the Plan would not have selected the share classes listed in the “Defendants’
25

26   Investment” column of the chart above.


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 1          143.    During the Class Period, and had Defendants engaged in a prudent process, once a
 2   portfolio manager had been selected, the Defendants would have selected the share classes listed
 3
     in the “Prudent Alternative Share Class” column of the chart above.
 4
            144.    During the Class Period, and had Defendants engaged in an objectively
 5
     reasonable search for, and selection of, the share class that provided the greatest benefit to Plan
 6

 7   Participants, the Plan would not have selected the funds in the “Defendants’ Investment” column

 8   in the chart above.

 9          145.    During the Class Period, and had Defendants engaged in an objectively
10   reasonable search for, and selection of, the share class that provided the greatest benefit to Plan
11
     Participants, the Plan would have selected the funds in the “Prudent Alternative Share Class”
12
     columns of the charts above.
13
            146.    During the Class Period, and had Defendants been acting in the best interests of
14

15   the Plan’s Participants, the Plan would not have selected the funds in the “Defendants’

16   Investment” columns of the charts above.

17          147.    During the Class Period and had Defendants been acting in the best interests of
18
     the Plan’s Participants, the Plan would have selected the funds in the “Prudent Alternative Share
19
     Class” columns of the charts above.
20
            148.    During the entirety of the Class Period, Defendants knew or should have known
21
     about the existence of alternative share classes of the same mutual funds currently selected and
22

23   performed the analysis to determine the share class that provides the greatest benefit to Plan

24   Participants, as identified in the “Prudent Alternative Share Class” column of the chart above.
25          149.     During the entirety of the Class Period, Defendants knew or should have known
26
     to transfer the Plan funds into the share class that provides the greatest benefit to Plan

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 1   Participants, as identified in the “Prudent Alternative Share Class” column of the chart above.
 2          150.     A hypothetical prudent fiduciary would not select share classes that result in
 3
     higher fees to Plan Participants when share classes that result in lower fees to Plan Participants
 4
     are available for the identical portfolio management services.
 5
            151.     During the entirety of the Class Period, Defendants selected share classes that
 6

 7   resulted in higher fees to Plan Participants when share classes of the identical investment option

 8   were available that would have resulted in lower fees, to the substantial detriment of Plaintiff and

 9   the Plan’s Participants.
10          152.     During the entirety of the Class Period and because Defendants selected share
11
     classes that resulted in higher fees when share classes that resulted in lower fees were available
12
     to the Plan for the identical investment option, the Plaintiff and the Plan Participants did not
13
     receive any additional services or benefits other than a higher cost for Plaintiff and the Plan
14

15   Participants.

16          153.     For example, the FMI Common Stock Institutional (FMIUX) was selected by plan

17   fiduciaries and made available to Participants in the Plan from 2015 through at least 2020.
18
            154.     As of December 31, 2019, Plan Participants had invested more than $5,285,980 in
19
     this investment option. The portfolio managers of this investment option were Patrick J. English,
20
     John S. Brandser and Robert M. Helf (English, Brandser, & Helf). Plan Participants can receive
21
     the identical portfolio management services of English, Brandser, & Helf through several
22

23   different investment options (share classes) with different fee structures. The fee structures for

24   the varying share classes of this investment option, all managed by English, Brandser, & Helf,
25   are set forth in the chart below:
26


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 1

 2                        Example of Different Share Class Fee Levels for
                             Identical Portfolio Management Services
 3

 4                                         FMI Common Stock         FMI Common Stock
                                                 Investor               Institutional
 5                          Share Class          Investor               Institutional
 6                   Investment Advisor Fiduciary Management Inc Fiduciary Management Inc

 7                   Portfolio Managers Patrick J. English, John S.   Patrick J. English, John S.
                                         Brandser, Robert M. Helf     Brandser, Robert M. Helf
 8
                                  Ticker          FMIMX                         FMIUX
 9           Portfolio Management Fee              0.83%                         0.83%
                     Total Expense Ratio           1.01%                         0.90%
10              Revenue Sharing Credit             0.40%                         0.00%
11           Net Investment Expense to
                       Retirement Plans            0.61%                        0.90%
12
            155.    The underlying data and information reflected in the chart above is truthful,
13

14   accurate, and derived from publicly available information, which was equally as available to

15   Defendants during the Class Period including, but not limited to, standard reports prepared by the
16   Defendants’ RPS provider as well as the 408(b)(2) Fee Disclosure documents provided to the
17
     Defendant Plan by its RPSP.
18
            156.    In the second to last row of the chart above, “Revenue Sharing Credit,” is the
19
     portion of the “Total Expense Ratio” that is allocable to the provision of RPS.
20

21          157.    As a result, the fee paid for the portfolio management services of the portfolio

22   managers English, Brandser, & Helf to pursue the identical investment strategy with the same

23   goals, objectives, and risk profile is the “Net Investment Expense to Retirement Plans” set forth
24   in the bottom row.
25
            158.    As illustrated in the chart above, the FMI Common Stock Investor (FMIMX) has
26
     the lowest “Net Investment Expense to Retirement Plans” at 0.61%. Despite the Total Expense

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 1   Ratio being higher, the FMI Common Stock Investor (FMIMX) provides the greatest benefit to
 2   Plan Participants because the 0.40% in revenue sharing that is allocable to RPS services is a
 3
     credit that can be returned to the participants directly or used as a credit against the RPS fee. If
 4
     the 0.40% allocable to RPS services exceeds the actual RPS fee, then the excess can also be
 5
     returned to the Plan and its Participants.
 6

 7          159.    During the Class Period, Plan Participants would have received the lowest

 8   possible fee for the portfolio management services of English, Brandser, & Helf if invested in the

 9   FMI Common Stock Investor (FMIMX).
10          160.    When two identical service options are readily available (in this case the portfolio
11
     management services of English, Brandser, & Helf), and would be known as part of the standard
12
     of care related to selecting and monitoring investment options, a prudent plan fiduciary ensures
13
     that the least expensive of those options is selected.
14

15          161.    A prudent plan fiduciary understands that the higher “sticker” price of the RPS

16   fee portion of the expense ratio is not relevant since the RPS service provider returns excess

17   revenue to the Plan and its Participants.
18
            162.    The DOL requires plan fiduciaries to understand all the fees related to all the
19
     various services provided to the Plan and its participants. By selecting an investment option that
20
     charges more for identical portfolio management services, the Defendant plan fiduciaries
21
     breached their duty.
22

23          163.    As illustrated in the chart below, which is based on the $5,285,980 that the Plan

24   invested in FMI Common Stock Institutional (FMIUX) as of December 31, 2019, because
25   Defendants did not select the share class that provided the greatest benefit to Plan Participants,
26
     FMI Common Stock Investor (FMIMX), Defendants caused substantial monetary damage and

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 1   detriment to Plaintiff and the Plan’s Participants.
 2

 3

 4

 5

 6

 7

 8

 9
10

11

12

13          164.    The underlying data and information reflected in the chart above is truthful,
14
     accurate, and derived from publicly available information, which was equally as available to
15
     Defendants during the Class Period.
16
            165.    A hypothetical prudent fiduciary conducting an impartial and objectively
17

18   reasonable review of the Plan’s investments during the Class Period would have conducted a

19   review on a quarterly basis, which would have identified and selected the share class that

20   provided the greatest benefit to Plan Participants.
21
            166.    A hypothetical prudent fiduciary conducting an impartial and objectively
22
     reasonable review of the Plan’s investments during the Class Period would have conducted a
23
     review on a quarterly basis, would have identified the share class that provided the greatest
24
     benefit to Plan Participants, and would have transferred the Plan’s investments into the prudent
25

26   share classes at the earliest opportunity.


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 1           167.     During the entirety of the Class Period, Defendants: 1) did not conduct an
 2   impartial and objectively reasonable review of the Plan’s investments on a quarterly basis; 2)
 3
     did not identify the prudent share classes available to the Plan; and 3) did not transfer the Plan’s
 4
     investments into this prudent share class at the earliest opportunity.
 5
             168.     During the Class Period and because Defendants failed to act in the best interests
 6

 7   of the Plan’s Participants by engaging in an objectively reasonable process when selecting its

 8   share classes, Defendants caused unreasonable and unnecessary losses to the Plan’s Participants

 9   through 2019 in the amount of approximately $102,110 and as detailed in the following chart:
10                                                   Actual Investment Lineup
11                                      2015             2016         2017            2018                2019
       Net Investment Expense to
                                       $300,358        $247,258      $275,329       $263,904            $362,253
12          Retirement Plans

13                                                Prudent Alternative Share Class
14     Net Investment Expense to
                                       $290,746        $235,615      $256,696       $246,991            $340,100
            Retirement Plans
15
        Est. Investment Damages         $9,612          $11,643      $18,633         $16,913             $22,154
16   Compounding Percentage (VIIIX)                     11.95%       21.82%          -4.41%              31.48%
       Est. Cumulative Investment
17                                      $9,612          $22,404      $45,925         $60,813            $102,110
                Damages
18
             169.     During the entirety of the Class Period, and by failing to recognize that the Plan
19
     was invested in a share class that resulted in higher fees when a share class that resulted in lower
20

21   fees to Plan Participants was available for the same investment, and/or by failing to take effective

22   remedial actions as described herein, Defendants breached their fiduciary duties to Plaintiff and

23   the Plan Participants.
24                            DEFENDANTS’ INVESTMENTS IN THE PLAN
25
             170.     A prudent fiduciary will consider all plan investments, including “suitable index
26
     mutual funds or market indexes (with such adjustments as may be appropriate).” Restatement

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 1   (Third) of Trusts § 100 cmt. b(1).
 2          171.    While higher-cost mutual funds may outperform a less-expensive option over the
 3
     short term, they rarely do so over a longer term. See Jonnelle Marte, Do Any Mutual Funds Ever
 4
     Beat the Market? Hardly, The Washington Post, available at
 5
     https://www.washingtonpost.com/news/get-there/wp/2015/03/17/do-any-mutualfunds-ever-beat-
 6

 7   the-market-hardly/ (citing a study by S&P Dow Jones Indices that looked at 2,862 actively

 8   managed mutual funds, focused on the top quartile in performance and found most did not

 9   replicate performance from year to year); see also Index funds trounce actively managed funds:
10   Study, available at http://www.cnbc.com/2015/06/26/index-funds-trounce-activelymanaged-
11
     funds-study.html (“long-term data suggests that actively managed funds “lagged their passive
12
     counterparts across nearly all asset classes, especially over the 10-year period from 2004 to
13
     2014.”)
14

15          172.    Funds with high fees on average perform worse than less expensive funds, even

16   on a pre-fee basis. Javier Gil-Bazo & Pablo Ruiz-Verdu, When Cheaper is Better: Fee

17   Determination in the Market for Equity Mutual Funds, 67 J. Econ. Behav. & Org. 871, 873
18
     (2009); see also Jill E. Fisch, Rethinking the Regulation of Securities Intermediaries, 158 U. Pa.
19
     L. Rev. 1961, 1967-75 (2010) (summarizing numerous studies showing that “the most consistent
20
     predictor of a fund’s return to investors is the fund’s expense ratio”).
21
            173.    During the Class Period, the chart below identifies several investment options that
22

23   Defendants selected and/or made available to Plan Participants as compared to prudent

24   alternative and less expensive options.
25

26


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 1
                      Defendants' Investment                               Prudent Alternative Investments
 2
                                                       Net                                                          Net    Defendants'
 3                                                 Investment                                                   Investment    Plan's
                                      Exp Revenue Expense to                                       Exp Revenue Expense to Investment
                                     Ratio Sharing Retirement                                     Ratio Sharing Retirement Excessive
 4
     Ticker      Fund Name            (%)    (%)    Plans (%)   Ticker         Fund Name           (%)    (%)    Plans (%)  Fees (%)
           American Funds                                                Vanguard Intl Div
 5   RERFX
           EuroPacific Growth R5
                                 0.51%       0.00%   0.51%      VIAAX
                                                                         Apprec Idx Adm
                                                                                                  0.25%   0.00%      0.25%            104%

           Baird Aggregate Bond                                          Fidelity® US Bond
 6   BAGIX                       0.30%       0.00%   0.30%      FXNAX                             0.03%   0.00%      0.03%            1100%
           Inst                                                          Index Instl Prem
                                                                         Fidelity® Large Cap
     DODGX Dodge & Cox Stock         0.52%   0.10%   0.42%      FLCOX                             0.04%   0.00%      0.04%            1100%
 7                                                                       Value Index Prm Inst
                                                                         Fidelity® Mid Cap
     FMIUX FMI Common Stock          0.90%   0.00%   0.90%      FSMDX                             0.03%   0.00%      0.03%            3500%
 8                                                                       Index Instl Prem
              Harbor International                                       Fidelity® International
     HAINX                           0.77%   0.10%   0.67%      FSPSX                            0.04%    0.00%      0.04%            1814%
 9            Instl                                                      Index InstlPrm
              JPMorgan Small Cap                                         Fidelity® Small Cap
10    VSEIX                          0.99%   0.25%   0.74%      FSSNX                             0.03%   0.00%      0.03%            2860%
              Equity I                                                   Index Instl Prem
              JPMorgan
                                                                         Vanguard Target
11    JTTAX   SmartRetirement 2020   0.81%   0.50%   0.31%      VTWNX                             0.13%   0.00%      0.13%            138%
                                                                         Retirement 2020 Inv
              A
12            JPMorgan
                                                                         Vanguard Target
     JNSAX    SmartRetirement 2025   0.85%   0.50%   0.35%      VTTVX                             0.13%   0.00%      0.13%            169%
                                                                         Retirement 2025 Inv
              A
13
              JPMorgan
                                                                         Vanguard Target
     JSMAX    SmartRetirement 2030   0.86%   0.50%   0.36%      VTHRX                             0.14%   0.00%      0.14%            157%
14                                                                       Retirement 2030 Inv
              A
              JPMorgan
15                                                                       Vanguard Target
     SRJAX    SmartRetirement 2035   0.87%   0.50%   0.37%      VTTHX                             0.14%   0.00%      0.14%            164%
                                                                         Retirement 2035 Inv
              A
16            JPMorgan
                                                                         Vanguard Target
     SMTAX    SmartRetirement 2040   0.88%   0.50%   0.38%      VFORX                             0.14%   0.00%      0.14%            171%
                                                                         Retirement 2040 Inv
17            A
              JPMorgan
                                                                         Vanguard Target
     JSAAX    SmartRetirement 2045   0.88%   0.50%   0.38%      VTIVX                             0.15%   0.00%      0.15%            153%
18            A
                                                                         Retirement 2045 Inv
              JPMorgan
19                                                                       Vanguard Target
      JTSAX   SmartRetirement 2050   0.88%   0.50%   0.38%      VFIFX                             0.15%   0.00%      0.15%            153%
                                                                         Retirement 2050 Inv
              A
20            JPMorgan                                                Vanguard Target
     JSRAX    SmartRetirement        0.73%   0.50%   0.23%      VTINX Retirement Income           0.12%   0.00%      0.12%            92%
21            Income A                                                Inv
              Lazard Emerging
                                                                         Fidelity® Emerging
      ECEIX   Markets Core Equity    1.18%   0.15%   1.03%      FPADX                             0.08%   0.00%      0.08%            1188%
22                                                                       Markets Idx Instl Prm
              Inst
                     Average         0.80%   0.31%   0.49%                      Average           0.11%   0.00%      0.11%        857.64%
23

24             174.       During the Class Period and based on the charts above, the average Net

25   Investment Expense to Retirement Plans of the investments selected and made available to Plan
26   Participants by the Plan Fiduciaries identified above was 0.49%, or 49 basis points.

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 1          175.    During the Class Period and based on the charts above, the investment options
 2   selected by the Plan Fiduciaries were 857.64% more expensive than prudent alternative and less
 3
     expensive options covering the same asset category.
 4
            176.    During the Class Period, Defendants did not engage in an objectively reasonable
 5
     process when selecting funds for the Plan.
 6

 7          177.    During the Class Period and because Defendants did not engage in an objectively

 8   reasonable process when selecting funds for the Plan, Defendants actually selected the funds

 9   identified in the “Defendants’ Investment” column in the charts above.
10          178.    During the Class Period and had Defendants engaged in an objectively reasonable
11
     process when selecting funds for the Plan, Defendants would not have selected the funds
12
     identified in the “Defendants’ Investment” column in the charts above.
13
            179.    During the Class Period and had Defendants been acting in the best interests of
14

15   the Plan’s Participants, Defendants would not have selected the funds identified in the

16   “Defendants’ Investment” column in the charts above.

17          180.    During the Class Period and had Defendants been acting in the best interests of
18
     the Plan’s Participants, Defendants would have selected funds with lower expense ratios than
19
     those funds actually selected by Defendants as identified in the “Defendants’ Investment”
20
     column in the charts above.
21
            181.    During the Class Period and had Defendants been acting in the best interests of
22

23   the Plan’s Participants, Defendants would have selected the funds identified in the “Prudent

24   Alternative Investments” column in the charts above.
25          182.    During the Class Period, Plaintiff had no knowledge of Defendants’ process for
26
     selecting investments and regularly monitoring them to ensure they remained prudent.

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 1          183.    During the Class Period, Plaintiff had no knowledge of how the fees charged to
 2   and paid by the Plan Participants compared to any other funds.
 3
            184.    During the Class Period, Plaintiff did not know about the availability of lower-
 4
     cost and better-performing (and other essentially identical) investment options that Defendants
 5
     failed to reasonably offer because Defendants provided no comparative information to allow
 6

 7   Plaintiff to evaluate and compare Defendants’ investment options.

 8          185.    During the Class Period, Defendants failed to reasonably and properly evaluate

 9   the true cost of the services of each portfolio manager under the fee structure negotiated with
10   Transamerica, thereby paying fees that were more than necessary to the detriment of Plaintiff
11
     and the Plan’s Participants.
12
            186.    During the Class Period and had Defendants chosen investment options similar or
13
     identical to the funds identified in the “Prudent Alternative Investments” column in the charts
14

15   above, the Plan’s Participants would have been received the exact same portfolio management

16   services but at a lower cost.

17          187.    During the Class Period and because Defendants imprudently chose investment
18
     options that were not similar or identical to the funds identified in the “Prudent Alternative
19
     Investments” column in the charts above, Defendants’ caused unreasonable and unnecessary
20
     losses to Plaintiff and Plan’s Participants.
21
            188.    During the Class Period, Defendants failed to consider materially similar but
22

23   cheaper alternatives to the Plan’s investment options. The chart above demonstrates that the

24   expense ratios of the Plan’s investment options between the years 2015 to 2020 were more
25   expensive by significant multiples of comparable actively managed and passively managed
26
     alternative funds in the same investment style. A reasonable investigation would have revealed

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 1   the existence of these lower-cost alternatives.
 2           189.     During the Class Period and because Defendants failed to act in the best interests
 3
     of the Plan’s Participants by engaging in an objectively reasonable investigation process when
 4
     selecting its investments, resulting in the selection of funds identified in the “Defendants’
 5
     Investment” column in the charts above, Plaintiff and the Plan’s Participants incurred actual
 6

 7   expenses and costs as identified in the “Actual Investment Lineup” portion of the chart below.

 8           190.     During the Class Period and had Defendants acted in the best interests of the

 9   Plan’s Participants by engaging in an objectively reasonable investigation process when selecting
10   its investments, Defendants would have prudently chosen lower-cost investment alternatives as
11
     identified in the “Alternative Investment Lineup” portion of the chart below.
12
             191.     During the Class Period and because Defendants failed to act in the best interests
13
     of the Plan’s Participants by engaging in an objectively reasonable investigation process when
14

15   selecting its investments, Defendants caused objectively unreasonable and unnecessary losses to

16   Plaintiff and the Plan’s Participants in the amount of approximately $906,273 through 2019 and

17   as detailed in the following chart:
18
19                                                   Actual Investment Lineup
                                        2015             2016         2017            2018                2019
20     Net Investment Expense to
                                       $302,018        $247,258      $299,049       $292,099            $394,324
            Retirement Plans
21

22                                                Prudent Alternative Investments
       Net Investment Expense to
                                       $181,472        $142,534      $154,699       $157,974            $212,775
23          Retirement Plans

24      Est. Investment Damages        $120,546        $104,724      $144,351       $134,124            $181,548
     Compounding Percentage (VIIIX)                     11.95%        21.82%         -4.41%              31.48%
25
       Est. Cumulative Investment
                                       $120,546        $239,675      $436,323       $551,205            $906,273
26              Damages



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 1           192.    The underlying data and information reflected in the chart above is truthful,
 2   accurate, and derived from publicly available information, which was equally as available to
 3
     Defendants during the Class Period, including but not limited to Plaintiff’s Plan quarterly
 4
     statements, the Plan’s Summary Description, and the Plan’s participant fee disclosures.
 5
             193.    During the entirety of the Class Period and by failing to engage in an objectively
 6

 7   reasonable investigation process when selecting its investments, Defendants breached their

 8   fiduciary duties of loyalty and prudence to Plaintiff and Plan Participants.

 9                                   CLASS ACTION ALLEGATIONS
10           194.    29 U.S.C. § 1132(a)(2) authorizes any participant or beneficiary of the Plan to
11
     bring an action individually on behalf of the Plan to enforce a breaching fiduciary’s liability to
12
     the Plan under 29 U.S.C. § 1109(a).
13
             195.    In acting in this representative capacity, Plaintiff seeks to certify this action as a
14
     class action on behalf of all participants and beneficiaries of the Plan. Plaintiff seeks to certify,
15

16   and to be appointed as representatives of, the following Class:

17           All participants and beneficiaries of the Generac Power Systems, Inc. Employees
             401(k) Savings Plan (excluding the Defendants or any participant/beneficiary who
18           is a fiduciary to the Plan) beginning June 8, 2015, and running through the date of
19           judgment.

20           196.    The Class includes over 4,000 members and is so large that joinder of all its

21   members is impracticable, pursuant to Federal Rule of Civil Procedure 23(a)(1).

22           197.    There are questions of law and fact common to this Class pursuant to Federal
23
     Rule of Civil Procedure 23(a)(2), because Defendants owed fiduciary duties to the Plan and took
24
     the actions and omissions alleged as the Plan and not as to any individual participant. Common
25
     questions of law and fact include but are not limited to the following:
26


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 1                 Whether Defendants are fiduciaries liable for the remedies provided by
                    29 U.S.C. § 1109(a);
 2
                   Whether Defendants breached their fiduciary duties to the Plan;
 3

 4                 What are the losses to the Plan resulting from each breach of fiduciary
                    duty; and
 5
                   What Plan-wide equitable and other relief the Court should impose in light
 6                  of Defendants’ breach of duty.
 7          198.    Plaintiff’s claims are typical of the claims of the Class pursuant to Federal Rule of
 8
     Civil Procedure 23(a)(3), because Plaintiff was a participant during the time period at issue and
 9
     all participants in the Plan were harmed by Defendants’ misconduct.
10
            199.    Plaintiff will adequately represent the Class pursuant to Federal Rule of Civil
11

12   Procedure 23(a)(4), because they are participants in the Plan during the Class period, have no

13   interest that conflicts with the Class, are committed to the vigorous representation of the Class,

14   and have engaged experienced and competent lawyers to represent the Class.
15          200.    Certification is appropriate under Federal Rule of Civil Procedure 23(b)(1),
16
     because prosecution of separate actions for these breaches of fiduciary duties by individual
17
     participants and beneficiaries would create the risk of (1) inconsistent or varying adjudications
18
     that would establish incompatible standards of conduct for Defendant concerning its discharge of
19

20   fiduciary duties to the Plan and personal liability to the Plan under 29 U.S.C. § 1109(a), and

21   (2) adjudications by individual participants and beneficiaries regarding these breaches of

22   fiduciary duties and remedies for the Plan would, as a practical matter, be dispositive of the
23
     interests of the participants and beneficiaries who are not parties to the adjudication, or would
24
     substantially impair those participants’ and beneficiaries’ ability to protect their interests.
25
            201.    Certification is also appropriate under Federal Rule of Civil Procedure 23(b)(2)
26
     because Defendants have acted or refused to act on grounds that apply generally to the Class, so
     CLASS ACTION COMPLAINT FOR CLAIMS                                    K E L L E R R O H R B A C K L. L. P .
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 1   that final injunctive relief or corresponding declaratory relief is appropriate respecting the class
 2   as a whole.
 3
             202.   Plaintiff’s attorneys are experienced in complex ERISA and class litigation and
 4
     will adequately represent the Class.
 5
             203.   The claims brought by the Plaintiff arise from fiduciary breaches as to the Plan in
 6

 7   its entirety and do not involve mismanagement of individual accounts.

 8           204.   The claims asserted on behalf of the Plans in this case fall outside the scope of

 9   any exhaustion language in individual participants’ Plans. Exhaustion is intended to serve as an
10   administrative procedure for participants and beneficiaries whose claims have been denied and
11
     not where a participant or beneficiary brings suit on behalf of a Plan for breaches of fiduciary
12
     duty.
13
             205.   Under ERISA, an individual “participant” or “beneficiary” are distinct from an
14

15   ERISA Plan. A participant’s obligation – such as a requirement to exhaust administrative

16   remedies – does not, by itself, bind the Plan.

17           206.   Moreover, any administrative appeal would be futile because the entity hearing
18
     the appeal (the Plan Administrator) is the same Plan Administrator that made the decisions that
19
     are at issue in this lawsuit. Policy supporting exhaustion of administrative remedies in certain
20
     circumstances – that the Court should review and where appropriate defer to a Plan
21
     administrator’s decision – does not exist here because courts will not defer to Plan
22

23   administrator’s legal analysis and interpretation.

24                                     FIRST CLAIM FOR RELIEF
                  Breaches of Duties of Loyalty and Prudence of ERISA, as Amended
25           (Plaintiff, on behalf of himself and Class, Against All Defendants – RPS Fees)
26
             207.   Plaintiff restates the above allegations as if fully set forth herein.

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 1          208.    Defendants are fiduciaries of the Plan under 29 U.S.C. §§ 1002(21) and/or
 2   1102(a)(1).
 3
            209.    29 U.S.C. § 1104 imposes fiduciary duties of prudence and loyalty upon
 4
     Defendants in their administration of the Plan.
 5
            210.    Defendants, as fiduciaries of the Plan, are responsible for selecting a RPSP that
 6

 7   charges reasonable RPS fees.

 8          211.    During the Class Period, Defendants had a fiduciary duty to do all of the

 9   following: ensure that the Plan’s RPS fees were reasonable; manage the assets of the Plan for the
10   sole and exclusive benefit of Plan Participants and beneficiaries; defray reasonable expenses of
11
     administering the Plan; and act with the care, skill, diligence, and prudence required by ERISA.
12
            212.    During the Class Period, Defendants breached their fiduciary duties of prudence
13
     and loyalty to Plan Participants, including Plaintiff, by failing to: ensure that the Plan’s RPS fees
14

15   were reasonable, manage the assets of the Plan for the sole and exclusive benefit of Plan

16   Participants and beneficiaries, defray reasonable expenses of administering the Plan, and act with

17   the care, skill, diligence, and prudence required by ERISA.
18
            213.    During the Class Period, Defendants further had a continuing duty to regularly
19
     monitor and evaluate the Plan’s RPSP to make sure it was providing the contracted services at
20
     reasonable costs, given the highly competitive market surrounding RPS and the significant
21
     bargaining power the Plan had to negotiate the best fees.
22

23          214.    During the Class Period, Defendants breached their duty to Plan Participants,

24   including Plaintiff, by failing to employ a prudent and loyal process and by failing to critically or
25   objectively evaluate the cost and performance of the Plan’s RPSP in comparison to other RPSP
26
     options.

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 1          215.    Through these actions and omissions, Defendants breached their fiduciary duties
 2   of prudence and loyalty with respect to the Plan in violation 29 U.S.C. § 1104(a)(1)(A), (B).
 3
            216.    Defendants’ failure to discharge their duties with respect to the Plan with the care,
 4
     skill, prudence, and diligence under the circumstances then prevailing that a prudent person
 5
     acting in a like capacity and familiar with such matters would have used in the conduct of an
 6

 7   enterprise of like character and with like aims, breaching its duties under 29 U.S.C.

 8   § 1104(a)(1)(B).

 9          217.    As a result of Defendants’ breach of fiduciary duty of prudence and loyalty with
10   respect to the Plan, the Plaintiff and Plan Participants suffered objectively unreasonable and
11
     unnecessary monetary losses.
12
            218.    Defendants are liable under 29 U.S.C. §§ 1109(a) and 1132(a)(2) to make good to
13
     the Plan the losses resulting from the breaches, to restore to the Plan any profits defendants made
14

15   through the use of Plan assets, and to restore to the Plan any profits resulting from the breaches

16   of fiduciary duties alleged in this Count. In addition, Defendants are subject to other equitable

17   relief pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), (a)(3).
18                                SECOND CLAIM FOR RELIEF
19                   Breaches of Duties of Loyalty and Prudence of ERISA, as Amended
                                  (Plaintiff, on behalf of himself and Class,
20                        Against All Defendants – Investment Management Fees)

21          219.    Plaintiff restates the above allegations as if fully set forth herein.
22
            220.    Defendants are fiduciaries of the Plan under 29 U.S.C. §§ 1002(21) and/or
23
     1102(a)(1).
24
            221.    29 U.S.C. § 1104 imposes fiduciary duties of prudence and loyalty upon
25
     Defendants in managing the investments of the Plan.
26


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     UNDER 29 U.S.C. § 1132(A)(2)                                              1201 Third Avenue, Suite 3200
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 1           222.   Defendants, as fiduciaries of the Plan, are responsible for selecting prudent
 2   investment options, ensuring that those options charge only reasonable fees, and taking any other
 3
     necessary steps to ensure that the Plan’s assets are invested prudently.
 4
             223.   During the Class Period, Defendants had a fiduciary duty to do all of the
 5
     following: manage the assets of the Plan for the sole and exclusive benefit of Plan Participants
 6

 7   and beneficiaries; defray reasonable expenses of administering the Plan; and act with the care,

 8   skill, diligence, and prudence required by ERISA.

 9           224.   During the Class Period, Defendants breached their fiduciary duties of prudence
10   and loyalty to Plan Participants, including Plaintiff, by failing to manage the assets of the Plan
11
     for the sole and exclusive benefit of Plan Participants and beneficiaries, defray reasonable
12
     expenses of administering the Plan, act with the care, skill, diligence, and prudence required by
13
     ERISA.
14

15           225.   Defendants, as fiduciaries of the Plan, had a continuing duty to regularly monitor

16   and independently assess whether the Plan’s investments were prudent choices for the Plan and

17   to remove imprudent investment options regardless of how long said investments had been in the
18
     Plan.
19
             226.   During the Class Period, Defendants breached their fiduciary duties of prudence
20
     and loyalty to Plan Participants, including Plaintiff, by failing to engage in a prudent process for
21
     monitoring the Plan’s investments and removing imprudent ones within a reasonable period.
22

23           227.   Defendants were directly responsible for ensuring that the Plan’s investment

24   management fees were reasonable, selecting investment options in a prudent fashion in the best
25   interest of Plan Participants, prudently evaluating and monitoring the Plan’s investments on an
26
     ongoing basis and eliminating funds or share classes that did not serve the best interest of Plan

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 1   Participants, and taking all necessary steps to ensure that the Plan’s assets were invested
 2   prudently and appropriately.
 3
             228.    Defendants failed to employ a prudent and loyal process by failing to critically or
 4
     objectively evaluate the cost and performance of the Plan’s investments and fees in comparison
 5
     to other investment options. Defendants selected and retained for years as Plan investment
 6

 7   options mutual funds with high expenses relative to other investment options that were readily

 8   available to the Plan at all relevant times.

 9           229.    Through these actions and omissions, Defendants breached their fiduciary duties
10   of prudence and loyalty with respect to the Plan in violation 29 U.S.C. § 1104(a)(1)(A), (B).
11
             230.    Defendants failure to discharge their duties with respect to the Plan with the care,
12
     skill, prudence, and diligence under the circumstances then prevailing that a prudent person
13
     acting in a like capacity and familiar with such matters would have used in the conduct of an
14

15   enterprise of like character and with like aims, breaching its duties under 29 U.S.C.

16   § 1104(a)(1)(B).

17           231.    As a result of Defendants’ breach of their fiduciary duties of prudence and loyalty
18
     with respect to the Plan, as aforesaid, the Plaintiff and Plan Participants suffered unreasonable
19
     and unnecessary monetary losses.
20
             232.    Defendants are liable under 29 U.S.C. §§ 1109(a) and 1132(a)(2) to make good to
21
     the Plan the losses resulting from the breaches, to restore to the Plan any profits defendants made
22

23   through the use of Plan assets, and to restore to the Plan any profits resulting from the breaches

24   of fiduciary duties alleged in this Count. In addition, Defendants are subject to other equitable
25   relief pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), (a)(3).
26


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 1                                    THIRD CLAIM FOR RELIEF
             Failure to Adequately Monitor Other Fiduciaries under ERISA, as Amended
 2           (Plaintiff, on behalf of himself and Class, Against All Defendants – RPS Fees)
 3
             233.    Plaintiff restates the above allegations as if fully set forth herein.
 4
             234.    Defendants had the authority to appoint and remove members or individuals
 5
     responsible for Plan RPS fees and knew or should have known that these fiduciaries had critical
 6

 7   responsibilities for the Plan.

 8           235.    In light of this authority, Defendants had a duty to monitor those individuals

 9   responsible for Plan RPS fees to ensure that they were adequately performing their fiduciary
10   obligations, and to take prompt and effective action to protect the Plan in the event that these
11
     individuals were not fulfilling those duties.
12
             236.    Defendants had a duty to ensure that the individuals responsible for Plan
13
     administration possessed the needed qualifications and experience to carry out their duties
14

15   (or use qualified advisors and service providers to fulfill their duties); had adequate financial

16   resources and information; maintained adequate records of the information on which they based

17   their decisions and analysis with respect to the Plan’s investments; and reported regularly to
18
     Defendants.
19
             237.    The excessive RPS fees paid by the Plan inferentially suggest that Generac and
20
     the Board breached their duty to monitor by, among other things:
21
                 a. Failing to monitor and evaluate the performance of individuals responsible for
22

23           Plan RPS fees or have a system in place for doing so, standing idly by as the Plan

24           suffered significant losses in the form of unreasonably high RPS expenses;
25               b. Failing to monitor the process by which the Plan’s RPSP were evaluated and
26
             failing to investigate the availability of lower-cost recordkeepers; and

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 1               c. Failing to remove individuals responsible for Plan RPS fees whose performance
 2           was inadequate in that these individuals continued to pay the same RPS costs even
 3
             though benchmarking and using other similar comparators would have showed that
 4
             maintaining Transamerica as the RPSP at the contracted price was imprudent, excessively
 5
             costly, all to the detriment of the Plan and Plan Participants’ retirement savings.
 6

 7           238.    As the consequences of the foregoing breaches of the duty to monitor for RPS

 8   fees the Plaintiff and Plan Participants suffered unreasonable and unnecessary monetary losses.

 9           239.    Pursuant to 29 U.S.C. §§1109(a) and 1132(a)(2), Defendants are liable to restore
10   to the Plan all loses caused by their failure to adequately monitor individuals responsible for Plan
11
     RPS fees. In addition, Plaintiffs are entitled to equitable relief and other appropriate relief as set
12
     forth in the Prayer for Relief.
13
                                  FOURTH CLAIM FOR RELIEF
14           Failure to Adequately Monitor Other Fiduciaries under ERISA, as Amended
15                               (Plaintiff, on behalf of himself and Class,
                          Against All Defendants – Investment Management Fees)
16
             240.    Plaintiff restates the above allegations as if fully set forth herein.
17
             241.    Defendants had the authority to appoint and remove members or individuals
18
19   responsible for Plan investment management and were aware that these fiduciaries had critical

20   responsibilities for the Plan.

21           242.    In light of this authority, Defendants had a duty to monitor those individuals
22
     responsible for Plan investment management to ensure that they were adequately performing
23
     their fiduciary obligations, and to take prompt and effective action to protect the Plan in the
24
     event that these individuals were not fulfilling those duties.
25
             243.    Defendants had a duty to ensure that the individuals responsible for Plan
26
     investment management possessed the needed qualifications and experience to carry out their
     CLASS ACTION COMPLAINT FOR CLAIMS                                     K E L L E R R O H R B A C K L. L. P .
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 1   duties (or use qualified advisors and service providers to fulfill their duties); had adequate
 2   financial resources and information; maintained adequate records of the information on which
 3
     they based their decisions and analysis with respect to the Plan’s investments; and reported
 4
     regularly to Defendants.
 5
               244.   The excessive investment management and share class fees paid by the Plan
 6

 7   inferentially suggest that Generac and the Board breached their duty to monitor by, among other

 8   things:

 9                a. Failing to monitor and evaluate the performance of individuals responsible for
10             Plan investment management or have a system in place for doing so, standing idly by as
11
               the Plan suffered significant losses in the form of unreasonably high expenses, improper
12
               choice of fund share classes, and inefficient fund management styles that adversely
13
               affected the investment performance of the funds’ and their Participants’ assets as a result
14

15             of these individuals responsible for Plan imprudent actions and omissions;

16                b. Failing to monitor the process by which Plan investments were evaluated, failing

17             to investigate the availability of lower-cost share classes, and failing to investigate the
18
               availability of lower-cost collective trust vehicles; and
19
                  c. Failing to remove individuals responsible for Plan administration whose
20
               performance was inadequate in that they continued to maintain imprudent, excessively
21
               costly, and poorly performing investments within the Plan, all to the detriment of the Plan
22

23             and Plan Participants’ retirement savings.

24             245.   As a result of Defendants’ foregoing breaches of the duty to monitor, the Plaintiff
25   and Plan Participants suffered unreasonable and unnecessary monetary losses.
26
               246.   Pursuant to 29 U.S.C. §§1109(a) and 1132(a)(2), Defendants are liable to restore

     CLASS ACTION COMPLAINT FOR CLAIMS                                      K E L L E R R O H R B A C K L. L. P .
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 1   to the Plan all loses caused by their failure to adequately monitor individuals responsible for Plan
 2   administration. In addition, Plaintiffs are entitled to equitable relief and other appropriate relief
 3
     as set forth in the Prayer for Relief.
 4
             WHEREFORE, Plaintiff prays that judgment be entered against Defendants on all
 5
     claims and requests that the Court award the following relief:
 6
             A.      A determination that this action may proceed as a class action under Rule
 7
                     23(b)(1), or in the alternative Rule 23(b)(2), of the Federal Rules of Civil
 8                   Procedure;

 9           B.      Designation of Plaintiff as Class Representative and designation of Plaintiff’s
                     counsel as Class Counsel;
10

11           C.      A Declaration the Defendants have breached their fiduciary duties under ERISA;

12           D.      An Order compelling the Defendants to make good to the Plan all losses to the
                     Plan resulting from Defendants’ breaches of fiduciary duty, including restoring to
13                   the Plan all losses resulting from imprudent investment of the Plan’s assets,
                     restoring to the Plan all profits the Defendants made through use of the Plan’s
14                   assets, and restoring to the Plan all profits which the Participants would have
15                   made if the Defendants had fulfilled their fiduciary obligation;

16           E.      An Order requiring Defendant Generac to disgorge all profits received from, or in
                     respect of, the Plan, and/or equitable relief pursuant to 29 U.S.C. § 1132(a)(3) in
17                   the form of an accounting for profits, imposition of constructive trust, or
                     surcharge against Generac as necessary to effectuate relief, and to prevent
18                   Generac’ unjust enrichment;
19
             F.      An Order enjoining Defendants from any further violation of their ERISA
20                   fiduciary responsibilities, obligations, and duties;

21           G.      Other equitable relief to redress Defendants’ illegal practices and to enforce the
                     provisions of ERISA as may be appropriate, including appointment of an
22
                     independent fiduciary or fiduciaries to run the Plan and removal of plan
23                   fiduciaries deemed to have breached their fiduciary duties;

24           H.      An award of pre-judgment interest;

25           I.      An award of attorneys’ fees and costs pursuant to 29 U.S.C. § 1132(g) and the
                     common fund doctrine; and
26
             J.      Such other and further relief as the Court deems equitable and just.
     CLASS ACTION COMPLAINT FOR CLAIMS                                    K E L L E R R O H R B A C K L. L. P .
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 1                    DATED this 8th day of June, 2021.
 2     StandardSig                                KELLER ROHRBACK L.L.P.
 3
                                                  By: s/ Erin M. Riley
 4                                                    Erin M. Riley, WSBA No. 30401
                                                      1201 Third Avenue, Suite 3200
 5                                                    Seattle, WA 98101
                                                      Tel.: (206) 623-1900
 6                                                    Fax: (206) 623-3384
                                                      eriley@kellerrohrback.com
 7
                                                  By: s/ Jeffrey Lewis
 8                                                    Jeffrey Lewis, pro hac motion forthcoming
                                                      KELLER ROHRBACK L.L.P.
 9                                                    180 Grand Avenue, Suite 1380
                                                      Oakland, CA 94612
10                                                    Tel.: (510) 463-3900
                                                      Fax: (510) 463-3901
11                                                    jlewis@kellerrohrback.com

12                                                By: s/ James A. Walcheske
                                                      James A. Walcheske, pro hac motion forthcoming
13
                                                      By: s/ Scott S. Luzi
14                                                    Scott S. Luzi, pro hac motion forthcoming

15                                                By: s/ Paul M. Secunda
                                                      Paul M. Secunda, pro hac motion forthcoming
16
                                                      WALCHESKE & LUZI, LLC
17                                                    235 N. Executive Dr., Suite 240
                                                      Brookfield, Wisconsin 53005
18                                                    Tel.: (262) 780-1953
                                                      Fax: (262) 565-6469
19                                                    jwalcheske@walcheskeluzi.com
                                                      sluzi@walcheskeluzi.com
20                                                    psecunda@walcheskeluzi.com

21                                                    Attorneys for Plaintiffs

22

23   4814-7942-9102, v. 1


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